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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

STATE OF ALASKA,

              Plaintiff,
                                                  Case No. 3:23-cv-00007-SLG
v.

BRYAN NEWLAND, in his official
capacity as Assistant Secretary – Indian
Affairs, U.S. Department of the Interior;
and U.S. DEPARTMENT OF THE
INTERIOR

              Defendants.

             DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT

       Defendants Bryan Newland, in his official capacity as Assistant Secretary–Indian

Affairs (“AS-IA”), and the United States Department of the Interior (“Interior”),

(collectively, “Defendants” or “United States”), state the following in response to

Plaintiff State of Alaska’s (“Plaintiff”) Complaint, filed on January 17, 2023. The United

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States denies any and all allegations in Plaintiff’s Complaint, whether express or implied,

that are not expressly and specifically admitted, denied, or qualified herein, and the

United States specifically denies any violation of law. Responses in the numbered

paragraphs of this Answer correspond to the allegations in the corresponding numbered

paragraphs and sections of the Complaint. The topic headings used below are duplicated

from the Complaint and are inserted for ease of reference. Use of these topic headings

below does not constitute an admission or acknowledgement by Defendants of the

headings’ relevance or accuracy.

                                       INTRODUCTION

       1.       The allegations in the first sentence of Paragraph 1 consist of Plaintiff’s

characterization of its claim against Defendants’ decision to acquire a parcel of land

located in downtown Juneau (“Parcel”) in trust and proclaim the Parcel a reservation for

the Central Council of Tlingit and Haida Indian Tribes of Alaska (“Tribe”), to which no

response is required. To the extent a response is required, Defendants deny the

allegations. The allegations in the second sentence of Paragraph 1 consist of Plaintiff’s

argument and legal conclusions, to which no response is required. To the extent a

response is required, Defendants deny the allegations. The allegations in the second

sentence of Paragraph 1 also consist of Plaintiff’s characterization of the Alaska Native

Claims Settlement Act (“ANCSA”), 43 U.S.C. §§ 1601-1629h, which speaks for itself

and is the best evidence of its contents. To the extent that Plaintiff’s characterization is

inconsistent with ANCSA, Defendants deny the allegations.


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       2.       The allegations in Paragraph 2 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. The allegations in Paragraph 2 also consist

of Plaintiff’s characterizations of ANCSA, which speaks for itself and is the best

evidence of its contents. To the extent that Plaintiff’s characterizations are inconsistent

with ANCSA, Defendants deny the allegations.

       3.       The allegations in the first, second, and third sentences of Paragraph 3

consist of Plaintiff’s argument and legal conclusions, to which no response is required.

To the extent a response is required, Defendants deny the allegations. Defendants aver

that from 1980 to 2015, Interior’s land acquisition regulations at 25 C.F.R. Part 151

(“Part 151”) effectively prohibited the Secretary of the Interior (“Secretary”) from

acquiring land in trust in Alaska except for the Metlakatla Indian Community.

Defendants aver further that the Part 151 regulations were amended in 2015 to make clear

that no such prohibition applies in Alaska and that in 2017 the Secretary issued a decision

to acquire land in trust for the Craig Tribal Association consistent with the regulations.

The allegations in the fourth sentence of Paragraph 3 are vague and ambiguous such that

Defendants lack sufficient information or knowledge to formulate a response and deny

the allegations on that basis. Defendants deny the allegations in the fifth sentence and

aver that the Solicitor for the Department of the Interior (“Solicitor”) has issued two

Memorandum Opinions (“M-Opinion”) confirming the Secretary’s authority to acquire

land into trust for Alaska Natives and Alaska Tribes: Hilary C. Tompkins, Solicitor

Opinion M-37043, Authority to Acquire Land into Trust in Alaska (Jan. 13, 2017)


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(“Tompkins Opinion”) and Robert T. Anderson, Solicitor Opinion M-37076, The

Secretary’s Land into Trust Authority for Alaska Natives and Alaska Tribes (Nov. 16,

2022) (“Anderson Opinion”). The Tompkins Opinion and the Anderson Opinion were

separated by Daniel H. Jorjani, Solicitor Opinion M-37064, Permanent Withdrawal of

Solicitor Opinion M-37043, ‘Authority to Acquire Land into Trust in Alaska’ (Jan. 19,

2021) (“Jorjani Opinion”) which raised concerns over the Secretary’s authority.

Defendants aver that the Jorjani Opinion did not opine on whether the Secretary’s

authority remained intact but instead urged further legal analysis prior to moving forward

with trust acquisitions in Alaska; Defendants further aver that the concerns set forth in the

Jorjani Opinion were addressed in the Anderson Opinion.

       4.       The allegations in Paragraph 4 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations. Defendants aver that Congress’s enactment of the Indian

Reorganization Act (“IRA”), 25 U.S.C. §§ 5101-5129, and the Alaska Indian

Reorganization Act (“AIRA”), 49 Stat. 1250 (May 1, 1936), support Interior’s 2022

decision to acquire land in trust for the Tribe.

       5.       The allegations in Paragraph 5 consist of Plaintiff’s characterizations of this

action, its own pleadings, and the relief sought, to which no response is required. To the

extent a response is required, Defendants deny the allegations.




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                               JURISDICTION AND VENUE

       6.       The allegations in the first sentence of Paragraph 6 consist of Plaintiff’s

argument and legal conclusions, to which no response is required. To the extent a

response is required, Defendants deny the allegations. The allegations in the second and

third sentence of Paragraph 6 consist of Plaintiff’s characterizations of this action and its

own pleadings, to which no response is required. To the extent a response is required,

Defendants deny the allegations.

       7.       The allegations in Paragraph 7 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations.

       8.       The allegations in Paragraph 8 consist of Plaintiff’s characterizations of this

action and its own pleadings, to which no response is required. To the extent a response is

required, Defendants deny the allegations.

       9.       The allegations in Paragraph 9 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations.

       10.      The allegations in Paragraph 10 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants admit that venue is proper in the District of Alaska.




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       11.     The allegations in Paragraph 11 consist of Plaintiff’s characterization of its

status as a state as well as argument and legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny the allegations.

       12.     Defendants admit the allegation in the first sentence of Paragraph 12 that

Bryan Newland is the Assistant Secretary – Indian Affairs (“AS-IA”) within the U.S.

Department of the Interior. The remaining allegations in the first sentence of Paragraph

12 consist of Plaintiff’s characterization of its own pleadings, to which no response is

required. To the extent a response is required, Defendants deny the allegations.

Defendants admit the allegations in the second sentence of Paragraph 12 and aver that the

AS-IA has been delegated by the Secretary the responsibility to administer the acquisition

of land in trust for federally recognized Indian tribes and to issue reservation

proclamations for federally recognized Indian tribes under the IRA, the AIRA, and

Interior’s Part 151 regulations.

       13.     Defendants admit the allegations in Paragraph 13.

                                              STANDING

       14.     The allegations in Paragraph 14 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations. The allegations in Paragraph 14 also consist of

Plaintiff’s characterizations of Akiachak Native Community v. U.S. Department of the

Interior, 584 F. Supp. 2d 1 (D.D.C. 2008) (“Akiachak”) and Confederated Tribes of


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Chehalis Indian Reservation. v. Lujan, 928 F.2d 1496 (9th Cir. 1991). To the extent that

Plaintiff’s characterizations are inconsistent with Akiachak or Confederated Tribes of

Chehalis Indian Reservation, Defendants deny the allegations.

       15.     The allegations in the first sentence of Paragraph 15 consist of Plaintiff’s

argument, legal conclusions, and characterizations of its interest in ANCSA, to which no

response is required. To the extent a response is required, Defendants deny the

allegations. The allegations in the second and third sentences of Paragraph 15 consist of

Plaintiff’s characterizations of ANCSA and the Alaska Statehood Act, Pub. L. No. 85-

508, 72 Stat. 339 (1958), which speak for themselves and are the best evidence of their

contents. To the extent that Plaintiff’s characterizations are inconsistent with ANCSA or

the Alaska Statehood Act, Defendants deny the allegations.

       16.     The allegations in Paragraph 16 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations. Defendants aver that Plaintiff did not challenge the

Secretary’s January 10, 2017, decision to acquire land in trust for the Craig Tribal

Association.

       17.     The allegations in the first and third sentences of Paragraph 17 consist of

Plaintiff’s argument and legal conclusions, to which no response is required. To the

extent a response is required, Defendants deny the allegations. The first and third

sentences of Paragraph 17 also consist of Plaintiff’s characterizations of ANCSA and the

Anderson Opinion, which speak for themselves and are the best evidence of their


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contents. To the extent that Plaintiff’s characterizations are inconsistent with ANCSA or

the Anderson Opinion, Defendants deny the allegations. Defendants admit the allegations

in the second sentence of Paragraph 17.

                        LEGAL AND FACTUAL BACKGROUND

  I.   Historical Background

       18.     The allegations in the first sentence of Paragraph 18 consist of Plaintiff’s

subjective and unsupported characterizations of certain aspects of Alaska’s history, to

which no response is required. To the extent a response is required, Defendants deny the

allegations. The allegations in the second sentence of Paragraph 18 consist of Plaintiff’s

characterization of Robert D. Arnold, Alaska Native Land Claims (1975) (“Arnold”),

which speaks for itself and is the best evidence of its contents. To the extent that

Plaintiff’s characterizations are inconsistent with Arnold, Defendants deny the

allegations. Defendants admit the allegations in the third sentence of Paragraph 18.

       19.     The allegations in Paragraph 19 consist of Plaintiff’s subjective

characterizations of certain aspects of United States history, to which no response is

required. To the extent a response is required, Defendants deny the allegations. The

allegations in the fourth sentence of Paragraph 19 consist of Plaintiff’s characterization of

United States v. Kagama, 118 U.S. 375 (1886); Arnold; and Felix S. Cohen, Handbook of

Federal Indian Law (1982 ed.) (“Cohen 1982”), which speak for themselves and are the

best evidence of their contents. To the extent that Plaintiff’s characterizations are

inconsistent with Kagama, Arnold, or Cohen 1982, Defendants deny the allegations.


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       20.     The allegations in Paragraph 20 consist of Plaintiff’s argument, legal

conclusions, and subjective characterizations of Alaska history, to which no response is

required. To the extent a response is required, Defendants deny the allegations. The

allegations in Paragraph 20 also consist of Plaintiff’s characterizations of Cohen 1982;

Metlakatla Indian Community, v. Egan, 369 U.S. 45 (1962) (“Metlakatla Indian

Community”); and United States v. Atlantic Richfield Co., 435 F. Supp. 1009, 1015

(D. Alaska 1977), aff’d, 612 F.2d 1132 (9th Cir. 1980), cert. denied sub nom. Inupiat

Community of Arctic Slope v. Atlantic Richfield Co., 449 U.S. 888 (1980) (“Atlantic

Richfield Co.”), which speak for themselves and are the best evidence of their contents.

To the extent that Plaintiff’s characterizations are inconsistent with Cohen 1982,

Metlakatla Indian Community, or Atlantic Richfield Co., Defendants deny the allegations.

Defendants aver that prior to ANCSA, a total of seven reservations were created under

the IRA. See Akiachak Native Cmty. v. U.S. Dep’t of Interior, 827 F.3d 100, 102 (D.C.

Cir. 2016); see also Cohen’s Handbook of Federal Indian Law § 4.07[3][b][iii] (Nell

Jessup Newton ed., 2012) (“Cohen 2012”); and David Case & David Voluck, Alaska

Natives and American Laws 106 n.142 (3d ed. 2012). 1 Defendants aver further that

within five years of ANCSA’s enactment, Arctic Village and the Native Village of

Venetie petitioned the Department to take their former reservation, title to which they had

received in fee pursuant to ANCSA section 19(b), into trust. Memorandum from Thomas



1
  Case & Voluck lists a total of six reservations created under the IRA but does not
include the Hydaburg Reserve.

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W. Fredericks, Associate Solicitor for Indian Affairs, to Forrest Gerard, Assistant

Secretary – Indian Affairs, Trust Land for the Natives of Venetie and Arctic Village (Sept.

15, 1978) (“Fredericks Opinion”).

       21.     The allegations in the first and second sentences of Paragraph 21 consist of

Plaintiff’s characterizations of the Act of March 3, 1891, 26 Stat. 1101 (“1891 Act”) and

Metlakatla Indian Community, which speak for themselves and are the best evidence of

their contents. To the extent that Plaintiff’s characterizations are inconsistent with the

1891 Act or Metlakatla Indian Community, Defendants deny the allegations. The

allegations in the third sentence of Paragraph 21 consist of Plaintiff’s characterization of

Cohen 2012 and Federal Field Committee for Development Planning in Alaska, Alaska

Natives and the Land 443-46 (1968), which speak for themselves and are the best

evidence of their contents. To the extent that Plaintiff’s characterizations are inconsistent

with Cohen 2012 or Alaska Natives and the Land, Defendants deny the allegations.

Defendants aver that the Annette Island Reserve (Metlakatla) was established by the 1891

Act and that approximately 150 additional executive order reserves were established prior

to the enactment of the AIRA in 1936. Following passage of the AIRA, the Secretary

established seven reservations in Alaska. Cohen 2012 § 4.07[3][b][iii]. Defendants aver

further that “ANCSA left untouched the Secretary’s authority to create reservations in

Alaska pursuant to the IRA.” Id.

       22.     The allegations in the first sentence of Paragraph 22 consist of Plaintiff’s

argument and legal conclusions regarding which civil and criminal laws Alaska Natives


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are subject to, to which no response is required. To the extent a response is required,

Defendants deny the allegations. The allegations in the first sentence of Paragraph 22 also

consist of Plaintiff’s characterizations of Native Village of Stevens v. Alaska Management

& Planning, 757 P.2d 32, 35 (Alaska 1988) (“Native Village of Stevens”); United States

v. Sitarangok, 4 Alaska 667 (D. Alaska 1913); and United States v. Doo-Noch-Keen, 2

Alaska 624 (D. Alaska 1905), which speak for themselves and are the best evidence of

their contents. To the extent that Plaintiff’s characterizations are inconsistent with any of

those decisions, Defendants deny the allegations. Defendants aver that Alaska is one of

the states with delegated jurisdiction over most criminal and many civil matters under

Public Law 280 (“P.L. 280”); however, P.L. 280 does not extinguish tribal self-

government, including for those tribes that have never occupied a reservation. Bryan v.

Itasca Cnty., 426 U.S. 373, 388-89 (1976); John v. Baker, 982 P.2d 738, 753

(Alaska 1999). The allegations in the second sentence of Paragraph 22 consist of

Plaintiff’s legal conclusions regarding the application of civil and criminal jurisdiction on

reservations in Alaska and in the contiguous United States, to which no response is

required. To the extent a response is required, Defendants deny the allegations. The

allegations in the second sentence of Paragraph 22 also consist of Plaintiff’s

characterizations of Metlakatla Indian Community and Cohen 1982, which speak for

themselves and are the best evidence of their contents. To the extent that Plaintiff’s

characterizations are inconsistent with Metlakatla Indian Community or Cohen 1982,

Defendants deny the allegations. The third sentence of Paragraph 22 consists of


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Plaintiff’s argument and legal conclusions, to which no response is required. Defendants

deny that there is no “Indian Country” within Alaska. The third sentence of Paragraph 22

also consists of Plaintiff’s characterizations of David Case & David Voluck, Alaska

Natives and American Laws 66-67 (2d ed. 2002) (“Case & Voluck”), which speaks for

itself and is the best evidence of its contents. To the extent that Plaintiff’s

characterizations are inconsistent with Case & Voluck, Defendants deny the allegations.

       23.     The allegations in the first and second sentences of Paragraph 23 consist of

Plaintiff’s argument, legal conclusions, and subjective characterizations regarding the

exercise of civil and criminal jurisdiction over Alaska Natives, to which no response is

required. To the extent a response is required, Defendants deny the allegations. The

allegations in the first and second sentences of Paragraph 23 also consist of Plaintiff’s

characterizations of Kie v. United States, 27 F. 351, 353 (D. Or. 1886); United States v.

Booth, 161 F. Supp. 269 (D. Alaska 1958); In re Sah Quah, 31 F. 327 (D. Alaska 1886);

United States v. Seveloff, 27 F. Cas. 1021 (D. Or. 1872); and Metlakatla Indian

Community, which speak for themselves and are the best evidence of their contents. To

the extent that Plaintiff’s characterizations are inconsistent with any of those decisions,

Defendants deny the allegations. The allegations in the third sentence of Paragraph 23

consist of Plaintiff’s argument, legal conclusions, and subjective characterizations of

Alaska history, to which no response is required. To the extent a response is required,

Defendants deny the allegations. The allegations in the third sentence of Paragraph 23

also consist of Plaintiff’s characterizations of DOI, Opinion Regarding Legal Status of


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Alaska Natives, 19 Pub. Lands Dec. 323, 325 (1894), which speaks for itself and is the

best evidence of its contents. To the extent that Plaintiff’s characterizations are

inconsistent with the 1894 opinion, Defendants deny the allegations.

 II.   The Indian Reorganization Act

       24.     The allegations in the first sentence of Paragraph 24 consist of Plaintiff’s

characterizations of the IRA and Morton v. Mancari, 417 U.S. 535 (1974), which speak

for themselves and are the best evidence of their contents. To the extent that Plaintiff’s

characterizations are inconsistent with the IRA or Mancari, Defendants deny the

allegations. The allegations in the second and third sentences of Paragraph 24 consist of

Plaintiff’s argument and legal conclusions, to which no response is required. To the

extent a response is required, Defendants deny the allegations. The second and third

sentences of Paragraph 24 also consist of Plaintiff’s characterizations of S. Rep. No. 73-

1080 (1934), Sturgeon v. Frost, 577 U.S. 424 (2016) (“Sturgeon I”) and Yellen v.

Confederated Tribes of the Chehalis Reservation, 141 S. Ct. 2434, 2438 (2021), which

speak for themselves and are the best evidence of their contents. To the extent that

Plaintiff’s characterizations are inconsistent with the Senate Report, Sturgeon I, or Yellen,

Defendants deny the allegations. Defendants admit the allegations in the fourth sentence

of Paragraph 24. The allegations in the fifth sentence of Paragraph 24 consist of

Plaintiff’s characterization of the IRA, which speaks for itself and is the best evidence of

its contents. To the extent that Plaintiff’s characterizations are inconsistent with the IRA,

Defendants deny the allegations.


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       25.     The allegations in the first and second sentences of Paragraph 25 consist of

Plaintiff’s characterization of the IRA, which speaks for itself and is the best evidence of

its contents. To the extent that Plaintiff’s characterizations are inconsistent with the IRA,

Defendants deny the allegations. The allegations in the third sentence of Paragraph 25

consist of Plaintiff’s argument and legal conclusions regarding the meaning of the terms

“Eskimo” and “Indian” in the IRA, to which no response is required. To the extent a

response is required, Defendants deny the allegations. The third sentence of Paragraph 25

also consists of Plaintiff’s characterizations of 78 Cong. Rec. 1183 (1934) and the IRA,

which speak for themselves and are the best evidence of their contents. To the extent that

Plaintiff’s characterizations are inconsistent 78 Cong. Rec. 1183 (1934) or the IRA,

Defendants deny the allegations. The allegations in the fourth and fifth sentences of

Paragraph 25 consist of Plaintiff’s characterization of Carcieri v. Salazar, 555 U.S. 379

(2009) (“Carcieri”) and the IRA, which speak for themselves and are the best evidence of

their contents. To the extent that Plaintiff’s characterizations are inconsistent with

Carcieri or the IRA, Defendants deny the allegations.

       26.     The allegations in Paragraph 26 consist of Plaintiff’s argument, legal

conclusions, and subjective characterizations regarding the application and early

implementation of the IRA in Alaska, to which no response is required. To the extent a

response is required, Defendants deny the allegations. The allegations in Paragraph 26

also consist of Plaintiff’s characterizations of S. Rep. No. 74-1831 (1936), which speaks




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for itself and is the best evidence of its contents. To the extent that Plaintiff’s

characterizations are inconsistent with that report, Defendants deny the allegations.

       27.     The allegations in the first sentence of Paragraph 27 consist of Plaintiff’s

argument, legal conclusions, and subjective characterizations regarding Congress’s intent

when enacting the AIRA, to which no response is required. To the extent a response is

required, Defendants deny the allegations. The remaining allegations in Paragraph 27

consist of Plaintiff’s characterizations of the AIRA, which speaks for itself and is the best

evidence of its contents. To the extent that Plaintiff’s characterizations are inconsistent

with the AIRA, Defendants deny the allegations.

       28.     Federal Defendants admit the first sentence of Paragraph 28 to the extent

that it states that 25 U.S.C. § 5108 provides the Secretary with general authority to take

land in trust for Indians. Defendants further aver that other statutory provisions provide

the Secretary with authority to take land in trust in specific contexts. The allegations in

the second and third sentences of Paragraph 28 consist of Plaintiff’s characterizations of

25 U.S.C. § 5108, which speaks for itself and is the best evidence of its contents. To the

extent that Plaintiff’s characterizations are inconsistent with § 5108, Defendants deny the

allegations.

       29.     The allegations in the first sentence of Paragraph 29 consist of Plaintiff’s

subjective characterizations regarding the implementation of the AIRA in Alaska, to

which no response is required. To the extent a response is required, Defendants deny the

allegations. The allegations in the first sentence of Paragraph 29 also consist of


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characterizations of S. Rpt. No. 92-405, which speaks for itself and is the best evidence

of its contents. To the extent that Plaintiff’s characterizations are inconsistent with that

report, Defendants deny the allegations. Defendants aver that the Secretary created seven

IRA reserves pursuant to the AIRA, § 2 prior to the enactment of ANCSA. The

allegations in the second sentence of Paragraph 29 consist of Plaintiff’s argument and

legal conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations.

       30.     The allegations in the first sentence of Paragraph 30 consist of Plaintiff’s

characterizations of Thomas Sansonetti, Solicitor Opinion M-36975, Governmental

Jurisdiction of Alaska Native Villages Over Land and Nonmembers (1993) (“Sansonetti

Opinion”), which speaks for itself and is the best evidence of its contents. To the extent

that Plaintiff’s characterizations are inconsistent with the Sansonetti Opinion, Defendants

deny the allegations. Defendants aver that the lands taken into trust for the Organized

Village of Kake, the Angoon Community Association, and the Klawock Cooperative

Association were taken into trust pursuant to AIRA, § 1. The allegations in the remainder

of Paragraph 30 consist of Plaintiff’s characterizations of Case & Voluck and Robert E.

Price, The Great Father in Alaska (1990) (“Price”), which speak for themselves and are

the best evidence of their contents. To the extent that Plaintiff’s characterizations are

inconsistent with Case & Voluck or Price, Defendants deny the allegations. The

allegations in the remainder of Paragraph 30 also consist of Plaintiff’s argument and legal




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conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations.

III.   The Alaska Native Claims Settlement Act

       31.     The allegations in the first sentence of Paragraph 31 consist of Plaintiff’s

characterizations of the Alaska Statehood Act, which speaks for itself and is the best

evidence of its contents. To the extent that Plaintiff’s characterizations are inconsistent

with the Alaska Statehood Act, Defendants deny the allegations. The allegations in the

second sentence of Paragraph 31 consist of Plaintiff’s characterizations of Sturgeon v.

Frost, 139 S. Ct. 1066, 1074 (2019) (“Sturgeon II”) which speaks for itself and is the best

evidence of its contents. To the extent that Plaintiff’s characterizations are inconsistent

with Sturgeon II, Defendants deny the allegations.

       32.     The allegations in Paragraph 32 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations. The allegations in Paragraph 32 also consist of

Plaintiff’s characterizations of Atlantic Richfield Co., 435 F. Supp. at 1016-18, which

speaks for itself and is the best evidence of its contents. To the extent that Plaintiff’s

characterizations are inconsistent with Atlantic Richfield Co., Defendants deny the

allegations.

       33.     The allegations in Paragraph 33 are vague and ambiguous such that

Defendants lack sufficient information or knowledge to formulate a response and deny

the allegations on that basis.


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      34.      The allegations in Paragraph 34 consist of Plaintiff’s argument, legal

conclusions, and subjective characterizations of the views of Alaska Natives preceding

the enactment of ANCSA, to which no response is required. To the extent a response is

required, Defendants deny the allegations. The allegations in Paragraph 34 also consist of

Plaintiff’s characterizations of Alaska Native Land Claims: Hearings on S. 2906 Before

the Senate Committee on Interior and Insular Affairs, 90th Cong., 2d Sess. 89 (1968) and

Alaska Native Land Claims: Hearings on H.R. 13142 and H.R. 10193 Before the

Subcommittee on Indian Affairs of the House Comm. on Interior and Insular Affairs, 91st

Cong., 1st Sess. 181 (1969), which speak for themselves and are the best evidence of

their contents. To the extent that Plaintiff’s characterizations are inconsistent with either

report, Defendants deny the allegations.

       35.     The allegations in Paragraph 35 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations. The allegations in Paragraph 35 also consist of

Plaintiff’s characterizations of ANCSA’s legislative history and S. Rep. No. 92-405, at

108-109 (1971), which speak for themselves and are the best evidence of their contents.

To the extent that Plaintiff’s characterizations are inconsistent with ANCSA’s legislative

history or the report, Defendants deny the allegations.

       36.     The allegations in Paragraph 36 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations.


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       37.     Defendants admit the allegations in the first sentence of Paragraph 37. The

allegations in the second sentence of Paragraph 37 consist of Plaintiff’s argument and

legal conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations. The second sentence of Paragraph 37 also consists of

Plaintiff’s characterizations of Alaska v. Native Village of Venetie Tribal Government,

522 U.S. 520 (1998), which speaks for itself and is the best evidence of its contents. To

the extent that Plaintiff’s characterizations are inconsistent with Native Village of Venetie

Tribal Government, Defendants deny the allegations. The allegations in the third sentence

consist of Plaintiff’s characterization of ANCSA, as well as Sturgeon II, which speak for

themselves and are the best evidence of their contents. To the extent that Plaintiff’s

characterizations are inconsistent with ANCSA or Sturgeon II, Defendants deny the

allegations. The remaining allegations in Paragraph 37 consist of Plaintiff’s

characterization of ANCSA, which speaks for itself and is the best evidence of its

contents. To the extent that Plaintiff’s characterizations are inconsistent with ANCSA,

Defendants deny the allegations. The allegations in the eighth sentence of Paragraph 37

also consist of Plaintiff’s argument, legal conclusions, and subjective characterizations

regarding the intent of ANCSA, to which no response is required. To the extent a

response is required, Defendants deny the allegations.

       38.     The allegations in Paragraph 38 consist of Plaintiff’s characterization of

ANCSA, which speaks for itself and is the best evidence of its contents. To the extent




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that Plaintiff’s characterizations are inconsistent with ANCSA, Defendants deny the

allegations.

IV.    Post-ANCSA, 1971-2017

39.    Defendants admit the allegations in the first sentence of Paragraph 39. The

remaining allegations in Paragraph 39 consist of Plaintiff’s characterization of the

Federal Land Policy and Management Act (“FLPMA”), Pub. L. No. 94-579, 90 Stat.

2743 (1976), codified as amended at 43 U.S.C. §§ 1701-1787, which speaks for itself and

is the best evidence of its contents. To the extent that Plaintiff’s characterizations are

inconsistent with FLPMA, Defendants deny the allegations.

       40.     The allegations in the first sentence of Paragraph 40 consist of Plaintiff’s

argument, legal conclusions, and subjective characterizations of Alaska history, to which

no response is required. To the extent a response is required, Defendants deny the

allegations. The allegations in the second and third sentences of Paragraph 40 consist of

Plaintiff’s argument and legal conclusions, as well as characterizations of the Fredericks

Opinion, to which no response is required. To the extent a response is required,

Defendants deny the allegations. Federal Defendants aver that the Fredericks Opinion

concluded that the Secretary’s IRA Section 5 authority was not repealed by subsequent

legislation, including ANCSA. The allegations in the fourth sentence of Paragraph 40

consist of Plaintiff’s argument and legal conclusions, to which no response is required.

To the extent a response is required, Defendants deny the allegations. The allegations in

the fourth sentence of Paragraph 40 also consist of Plaintiff’s characterizations of


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Interior’s land-into-trust regulations promulgated in 1980, Final Rule, Land Acquisitions,

45 Fed. Reg. 62034 (Sept. 18, 1980), which speaks for itself and is the best evidence of

its contents. To the extent that Plaintiff’s characterizations are inconsistent with the Final

Rule, Defendants deny the allegations.

       41a. 2   The allegations in the first sentence of Paragraph 41[a] consist of

Plaintiff’s argument and legal conclusions regarding the Indian country status of ANCSA

lands, to which no response is required. To the extent a response is required, Defendants

deny the allegations. The allegations in the first sentence of Paragraph 41[a] also consist

of Plaintiff’s characterization of Native Village of Stevens, which speaks for itself and is

the best evidence of its contents. To the extent that Plaintiff’s characterization is

inconsistent with Native Village of Stevens, Defendants deny the allegations. The

allegations in the second and third sentences of Paragraph 41[a] consist of Plaintiff’s

argument and legal conclusions, as well as characterizations of the Sansonetti Opinion, to

which no response is required. To the extent a response is required, Defendants deny the

allegations. Federal Defendants aver that the Sansonetti Opinion does not opine on the

jurisdictional status of lands acquired in trust for an Alaska tribe under Section 5 of the

IRA. Federal Defendants admit the fourth sentence of Paragraph 41[a].




2
  Plaintiff’s Complaint includes two consecutive paragraphs numbered “41.” For the
purposes of this Answer, Defendants have labeled the first of those paragraphs “41a” and
the second “41b” to avoid rendering the numbering for the remainder of this Answer
inconsistent with that of the Complaint.

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       41b.     Federal Defendants admit the allegations in the first sentence of Paragraph

41[b]. The allegations in the second, third, and fourth sentences of Paragraph 41[b]

consist of Plaintiff’s argument and legal conclusions, to which no response is required.

To the extent a response is required, Defendants deny the allegations. The second, third,

and fourth sentences of Paragraph 41[b] also consist of Plaintiff’s characterizations of the

Amendments to the Alaska Native Claims Settlement Act and the Alaska National Interest

Lands Conservation Act and to Establish a Memorial in the District of Columbia:

Hearings on S. 485, S. 1330, S. 2065, and S. 2370 Before the Subcommittee on Public

Lands, Reserved Water and Resource Conservation of the Senate Committee on Energy

and Natural Resources, 99th Cong., 2d Sess. 165-66 (1986), which speaks for itself and

is the best evidence of their contents. To the extent that Plaintiff’s characterizations are

inconsistent with the Subcommittee report, Defendants deny the allegations. The

allegations in the remainder of Paragraph 41[b] consist of Plaintiff’s characterizations of

43 U.S.C. § 1629e; 133 Cong. Rec. H 11933 (Dec. 21, 1987) (House Explanatory

Statement to P.L. 100-241) and 101 Stat. 1805 (February 3,1988), which speak for

themselves and are the best evidence of their contents. To the extent that Plaintiff’s

characterizations are inconsistent with 43 U.S.C. § 1629e, the House Explanatory

Statement to P.L. 100-241, or 101 Stat. 1805, Defendants deny the allegations.

       42.     The allegations in the first sentence of Paragraph 42 consist of Plaintiff’s

argument and legal conclusions, to which no response is required. To the extent a

response is required, Defendants deny the allegations. The allegations in the first sentence


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of Paragraph 42 also consist of Plaintiff’s characterizations of Notice of Petition, Land

Acquisitions, 60 Fed. Reg. 1,956 (Jan. 5, 1995) and Proposed Rule, Acquisition of Title

to Land in Trust, 64 Fed. Reg. 17574, 17578 (Apr. 12, 1999). To the extent that

Plaintiff’s characterizations are inconsistent with the Notice of Petition or Proposed Rule,

Defendants deny the allegations. The allegations in the second sentence of Paragraph 42

consist of Plaintiff’s argument and legal conclusions, to which no response is required.

To the extent a response is required, Defendants deny the allegations. The allegations in

the second sentence of Paragraph 42 also consist of Plaintiff’s characterizations of

Memorandum from John Leshy, Solicitor, to Assistant Secretary — Indian Affairs,

Rescinding the September 15, 1978, Opinion of the Associate Solicitor for Indian Affairs

entitled ‘Trust Land for the Natives of Venetie and Arctic Village’ (Jan. 16, 2001)

(“Leshy Opinion”), which speaks for itself and is the best evidence of its contents. To the

extent that Plaintiff’s characterizations are inconsistent with the Leshy Opinion,

Defendants deny the allegations.

       43.     Federal Defendants admit the allegations in the first sentence of Paragraph

43. The remaining allegations in Paragraph 43 consist of Plaintiff’s characterization of

Final Rule, Land Acquisitions in the State of Alaska, 79 Fed. Reg. 76,888 (Dec. 23,

2014) and Akiachak Native Community v. U.S. Department of the Interior, 827 F.3d 100,

102 (D.C. Cir. 2016). To the extent that Plaintiff’s characterizations are inconsistent with

the Final Rule or the Ninth Circuit’s decision in Akiachak, Defendants deny the

allegations.


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       44.     The allegations in Paragraph 44 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations. The allegations in Paragraph 44 further include

Plaintiff’s characterizations of five Solicitor Opinions, which speak for themselves and

are the best evidence of their contents. To the extent that Plaintiff’s characterizations are

inconsistent with those Opinions, Defendants deny the allegations. Defendants further

aver that none of the Opinions cited in Paragraph 44 conclude that Congress repealed the

Secretary’s IRA Section 5 authority to acquire land in trust in Alaska.

 V.    The Central Council’s Application

       45.     Defendants admit the allegations in the first and third in sentences of

Paragraph 45. The allegation in the second sentence consists of Plaintiff’s argument

regarding five land-into-trust applications, on four of which Interior has not issued

decisions, and which are outside the scope of the challenged decision. Accordingly, no

response is required. To the extent a response is required, Defendants deny the allegation.

       46.     Defendants admit the allegations in the first sentence of Paragraph 46. The

allegations in the second and third sentences of Paragraph 46 consist of Plaintiff’s

characterizations of comments submitted to the Secretary by the State, which speak for

themselves and are the best evidence of their contents. To the extent that Plaintiff’s

characterizations are inconsistent with those comments, Defendants deny the allegations.

The allegations in the fourth sentence of Paragraph 46 consist of Plaintiff’s argument and

legal conclusions, to which no response is required. To the extent a response is required,


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Defendants deny the allegations. Defendants aver that the Secretary has authority to

acquire land into trust for tribes in Alaska.

       47.     Defendants admit the allegations in the first sentence of Paragraph 47. The

remaining allegations in Paragraph 47 consist of Plaintiff’s arguments and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations. The remaining allegations in Paragraph 47 also include

Plaintiff’s characterizations of the Anderson Opinion and the Supreme Court’s decision

in Carcieri, which speak for themselves and are the best evidence of their contents. To

the extent that Plaintiff’s characterizations are inconsistent with the Anderson Opinion or

Carcieri, Defendants deny the allegations.

       48.     The allegations in the first, second, and third sentences of Paragraph 48

consist of Plaintiff’s characterization of 25 C.F.R. § 151.11(b), which speaks for itself

and is the best evidence of its contents. To the extent that Plaintiff’s characterization is

inconsistent with § 151.11(b), Defendants deny the allegation. The allegations in the

remainder of Paragraph 48 consist of Plaintiff’s characterization of AS-IA Newland’s

November 17, 2022, decision to take the Parcel into trust and proclaim a reservation for

the Tribe (“2022 Decision”), which speaks for itself and is the best evidence of its

contents. To the extent that Plaintiff’s characterizations are inconsistent with the 2022

Decision, Defendants deny the allegations. The allegations in the remainder of Paragraph

48 also consist of Plaintiff’s arguments and legal conclusions, to which no response is

required. To the extent a response is required, Defendants deny the allegations.


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       49.     The allegations in Paragraph 49 consist of Plaintiff’s characterization of the

2022 Decision, which speaks for itself and is the best evidence of its contents. To the

extent that Plaintiff’s characterizations are inconsistent with the 2022 Decision,

Defendants deny the allegations. The allegations in Paragraph 49 also include Plaintiff’s

argument, to which no response is required. To the extent a response is required,

Defendants deny the allegations.

       50.     The allegations in Paragraph 50 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations. Defendants aver that they provided a 30-day notice to

the State of the request to proclaim a reservation for the Parcel and that the AS-IA

intended to issue a reservation proclamation after the land was taken into trust.

       51.     The allegations in Paragraph 51 consist of Plaintiff’s argument and legal

conclusions, to which no response is required. To the extent a response is required,

Defendants deny the allegations.

                                     CAUSE OF ACTION

       52.     Defendants incorporate by reference each of their responses to the

allegations contained in Paragraphs 1 through 51 of this Answer.

       53.     Defendants deny the allegations.

                                   PRAYER FOR RELIEF

       The allegations set forth in Plaintiff’s Prayer for Relief constitute Plaintiff’s

request for relief, to which no response is required. To the extent a response is required,


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Defendants deny that Plaintiffs are entitled to the requested relief, including Paragraphs

A through F, or any relief whatsoever.

                                 AFFIRMATIVE DEFENSES

       1.      Plaintiffs have failed, for one or more claims, to state a claim upon which

relief may be granted.

       2.      Defendants reserve the right to assert additional defenses, including

affirmative defenses, which may be revealed subsequent to this filing.



DATED: April 3, 2023.

                                              Respectfully submitted,


                                              TODD KIM
                                              Assistant Attorney General
                                              Environment and Natural Resources Division

                                              /s/ Charmayne G. Staloff
                                              CHARMAYNE G. STALOFF, Trial Attorney
                                              Indian Resources Section
                                              Environment and Natural Resources Division
                                              United States Department of Justice

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Office of the Solicitor
U.S. Department of the Interior




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                                CERTIFICATE OF SERVICE

        I, Charmayne G. Staloff, hereby certify that, on April 3, 2023, the foregoing
DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT will be sent electronically
to the registered parties as identified on the Notice of Electronic Filing.

                                              /s/ Charmayne G. Staloff
                                              CHARMAYNE G. STALOFF, Trial Attorney
                                              Indian Resources Section
                                              Environment and Natural Resources Division
                                              United States Department of Justice




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